                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Kevin Neil Lobdell,                          )
                                             )       Case No.: 1:20-cv-00982
                      Plaintiff,             )
                                             )       Judge Matthew F. Kennelly
        v.                                   )
                                             )       Magistrate Judge Sunil R. Harjani
Superior Metal Products, et al.              )
                                             )
                      Defendants.            )

  DEFENDANT’S SECOND STATUS REPORT REGARDING IDHR PROCEEDINGS

        Defendant Superior Metal Products, Inc. (“SMP”), by and through its attorneys, Nadine C.

Abrahams and Priya P. Khatkhate of Jackson Lewis P.C., pursuant to the Court’s December 22,

2020 order (Doc. 32), submits the following status report regarding the Illinois Department of

Human Rights’ Proceedings on Plaintiff Kevin Lobdell’s administrative charge against SMP (the

“Charge”):

        1.     On January 29, 2021, counsel for SMP called Illinois Department of Human Rights

(“IDHR”) supervisor Alfredo de los Reyes and left a voicemail, inquiring, as she had been for the

past weeks, as to the status of the legal department’s review, and followed th e voicemail with a

detailed email regarding the request. (Exhibit A.)

        2.     On January 29, 2021, Mr. de los Reyes responded to the email from counsel for

SMP and stated that the agency’s legal department made the determination to administratively

dismiss both Plaintiff’s Charge against SMP and his related charge against his former supervisor.

(Id.)

        3.     In his email, Mr. de los Reyes also stated that the investigator previously assigned

to handle both charges was no longer with the agency, and he therefore assigned both charges to a
new investigator who is preparing the dismissal notice for the Charge s. Mr. de los Reyes

additionally advised that the agency’s Case Disposition Unit will be sending dismissal notices to

Plaintiff and SMP. (Id.)

       4.      Thus, SMP requests that the Court grant Defendant’s Motion to Set Aside Its

Responsive Pleading Deadline and Stay the Proceedings (Doc. 29) and reset the February 4, 2021

status hearing for a date in late February or early March 2021, after the IDHR has issued its final

dismissal notices to the parties.

Dated: January 29, 2021                              Respectfully submitted,

                                                     SUPERIOR METAL PRODUCTS, INC.

                                                     By:    \s\ Nadine C. Abrahams
                                                                   One of Its Attorneys


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                                 CERTIFICATE OF SERVICE

         I, Nadine C. Abrahams, certify that on January 29, 2021, I caused a true and correct copy

of the foregoing Defendant’s Second Status Report Regarding IDHR Proceedings to be filed

with the Court by electronic filing protocols, and that same was sent via U.S. Mail to:

                                       Kevin Neil Lobdell
                                  117 W. Market Street, Box 142
                                    Somonauk, Illinois 60552

                                                     /s/ Nadine C. Abrahams
4826-7566-0250, v. 2




4826-7566-0250, v. 2




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